      CASE 0:12-cr-00206-DWF-LIB          Doc. 182     Filed 01/25/13    Page 1 of 3




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


United States of America,                              Criminal No. 12-206(3) (DWF/LIB)

                     Plaintiff,

v.                                                       ORDER ADOPTING REPORT
                                                          AND RECOMMENDATION
David John Martin,
a/k/a Lurch,

                     Defendant.


       This matter is before the Court upon Defendant David John Martin’s

(“Defendant”) objections (Doc. No. 169) to Magistrate Judge Leo I. Brisbois’s

December 14, 2012 Report and Recommendation (Doc. No. 168) insofar as it

recommends that Defendant’s motion to suppress evidence be denied. The United States

filed a response to Defendant’s objections on January 11, 2013. (Doc. No. 173.)

       The Court has conducted a de novo review of the record, including a review of the

arguments and submissions of counsel, pursuant to 28 U.S.C. § 636(b)(1) and Local Rule

72.2(b). The factual background for the above-entitled matter is clearly and precisely set

forth in the Report and Recommendation and is incorporated by reference for purposes of

Defendant’s objections.

       Having carefully reviewed the record, the Court concludes that Defendant’s

objections offer no basis for departure from the Report and Recommendation. In

particular, Defendant argues that his arrest and search incident thereto were invalid.
      CASE 0:12-cr-00206-DWF-LIB          Doc. 182     Filed 01/25/13    Page 2 of 3




(Doc. No. 169 at 1.) The Court concludes, however, as did Magistrate Judge Brisbois,

that based on the totality of the circumstances of this case, “an objectively reasonable

police officer could have concluded that probable cause existed to believe that Defendant

had committed a public nuisance” in violation of Red Lake Tribal Code § 507.04(a). 1

(Doc. No. 168 at 6 (internal quotation omitted).) Here, the arresting officers were entitled

to rely on information provided by Mr. Good, the victim of the crime. See Benigni v.

Smith, 121 Fed. Appx. 164, 165 (8th Cir. 2005) (“Officers are entitled to rely on the

veracity of information supplied by the victim of a crime.”). Moreover, while it is

unclear exactly how long the interaction between Mr. Good and Defendant went on

before Mr. Good vacated the premises, officers did ultimately find Defendant in

Mr. Good’s residence, where Mr. Good had reported Defendant to be. Consequently,

Defendant has failed to demonstrate that his arrest was not supported by probable cause

and that suppression of any evidence is warranted. Defendant’s motion to suppress is

thus properly denied.




1
       A “public nuisance” is defined, in part, as follows:

       Any Indian who by his act or failure to perform an act does any of the
       following is guilty of maintaining a public nuisance, which is a
       misdemeanor:
       a) causes a disturbance to the health, safety or peace and comfort of any
       number (including one) of members of the public . . . .

Red Lake Tribal Code § 507.04.


                                             2
      CASE 0:12-cr-00206-DWF-LIB         Doc. 182    Filed 01/25/13    Page 3 of 3




      Based upon the de novo review of the record and all of the arguments and

submissions of the parties, and the Court being otherwise duly advised in the premises,

the Court hereby enters the following:

                                         ORDER

      1.     Defendant David John Martin’s objections (Doc. No. [169]) to Magistrate

Judge Leo I. Brisbois’s December 14, 2012 Report and Recommendation are

OVERRULED.

      2.     Magistrate Judge Leo I. Brisbois’s December 14, 2012 Report and

Recommendation (Doc. No. [168]) is ADOPTED.

      3.     Defendant’s motion to suppress evidence (Doc. No. [95]) is DENIED.


Dated: January 24, 2013           s/Donovan W. Frank
                                  DONOVAN W. FRANK
                                  United States District Judge




                                            3
